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INSTITUTE

at Columbia University

October 16, 2020

BY EMAIL

The Honorable Analisa Torres
United States District Judge
Southern District of New York
500 Pearl Street

New York, NY 10007

Re: Knight First Amendment Institute at Columbia University v.
Centers for Disease Control and Prevention, et al., No. 20 Civ.
02761 (AT)

Dear Judge Torres:

| write on behalf of Plaintiff the Knight First Amendment Institute at Columbia
University. Pursuant to this Court’s Individual Practice Ill.J, Plaintiff respectfully
requests oral argument on the parties’ cross-motions for summary judgment.

Respectfully,

/s/ Anna Diakun
Anna Diakun
Jennifer Pinsof

Alex Abdo
DENIED. The Court has determined that oral Knight First Amendment Institute at

argument will not be necessary. Columbia University

475 Riverside Drive, Suite 302
SO ORDERED. New York, NY 10115

(646) 745-8500

Dated: October 26, 2020 anna.diakun @knightcolumbia.org
New York, New York

On-

ANALISA TORRES
United States District Judge

 
